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I, ANTHONY FRY, being duly sworn, deposes and says that | am a Special Agent with the

Federal Bureau of Investigation (“FBI”), duly appointed according to law and acting as such.

Upon information and belief, in and around July 2019, within the Northern District of Ohio and
elsewhere, the defendants, DROR SVORAI, ELI TAIEB, and CHARLES VACCARO, together with
others, did knowingly and intentionally attempt to execute a scheme and artifice to defraud investors and
potential investors in connection with securities of issuers with a class of securities registered under
Section 12 of the Securities Exchange Act of 1934, specifically PotNetwork Holdings, Inc., Clic
Technology, Inc., White Label Liquid, Inc., Canna Corporation, and Vapor Group, Inc. to obtain money
and property from investors and potential investors by means of materially false and fraudulent pretenses,
representations, and promises in connection with purchases and sales of securities of issuers with a class
of securities registered under Section 12 of the Securities Exchange Act of 1934, specifically, PotNetwork
Holdings, Inc., Clic Technology, Inc., White Label Liquid, Inc., Canna Corporation, and Vapor Group,

Inc. in violation of Title 18, United States Code, Sections 1348 and 1349.

In addition, based on my training and experience and the facts as set forth in this affidavit, there is
probable cause to believe that violations of Title 18, United States Code, Sections 1343 (Wire Fraud),
1348 (Securities Fraud), and 1349 (Conspiracy to Commit Wire and Securities Fraud) have been
committed by DROR SVORAI, ELI TAIEB, and CHARLES VACCARO and others, known and

unknown, in the Northern District of Ohio and elsewhere.
The source of you affiant’s information and the grounds for his belief are as follows:

INTRODUCTION

1. I have been a Special Agent with the FB] since September 2018. | am currently assigned
to an FBI squad which investigates securities fraud, wire fraud, and other financial crimes. During my
tenure with the FBI, | have participated in financial fraud investigations involving stock market

manipulation and other illegal manipulative trading schemes. | have participated in all aspects of
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investigations including executing search warrants, debriefing defendants and informants,
interviewing witnesses, and reviewing and analyzing recorded conversations.

2. I have personally participated in the investigation of securities fraud by the defendants,
DROR SVORAI, ELI TAIEB, and CHARLES VACCARO, among others, as discussed below. I am
familiar with the facts and circumstances of this investigation from, among other things: (a) my
personal participation in this investigation, (b) discussions with other law enforcement agents and
undercover law enforcement agents involved in this investigation, and (c) my review of consensual
recordings, among other sources of evidence.

3. Except as explicitly set forth below, | have not distinguished in this affidavit between
facts of which I have personal knowledge and facts of which I learned from other law enforcement
agents. Because this affidavit is being submitted for the limited purpose of establishing probable
cause to arrest the defendants and seize the below-identified bank account, | have not set forth each
and every fact learned during the course of the investigation. Instead,'] have set forth only those facts
that I believe are necessary to establish probably cause for the arrest and seizure warrants sought
herein. In addition, where the contents of documents, or the actions, statements, and conversations of
others are reported herein, they are reported in sum and substance in part, except where otherwise
indicated. Summaries of recorded conversations are based upon draft transcripts and summaries of

these conversations which are subject to revision.

PROBABLE CAUSE

Relevant Regulatory Principles and Definitions

4. “Microcap” or “penny” stocks refer to stocks of publicly traded U.S. companies which
have a low market capitalization. Microcap stocks are often subject to price manipulation because
they are thinly traded and subject to less regulatory scrutiny than stocks that are traded on notable
exchanges. Additionally, large blocks of microcap stock are often controlled by a small group of

individuals, which enable those in the group to control or orchestrate manipulative trading in those
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stocks. “Caveat Emptor Designation”, commonly referred to as a “skull and crossbones” is assigned
by OTC Markets Group, Inc. (“OTC”) to when OTC becomes aware of: (a) a stock promotion, (b) an
investigation of fraud or other criminal activities, (c) a suspension or halt from a regulatory authority
or exchange, (d) undisclosed corporate actions, or (e) other public interest concerns.

5. Market manipulation schemes known as “pump and dump” schemes involved creating a
price for a security that was not reflective of true market value, allowing the defendants holding large
blocks of the inflated stock to sell shares they obtained for little or no money at the inflated price. The
purchasing party was left with a near-worthless security when the price dropped to accurately reflect
the stocks true value, or lack thereof, in the market. There were generally three phases to a pump and
dump scheme: (a) first, obtaining and concealing control of a significant portion of a publically traded
company’s stock, (b) second, fraudulently inflating or keeping inflated the price and trading volume
of the company’s stock through a variety of means; and (c) third, once the price of the stock was
fraudulently inflated, selling the stock using the fraudulently inflated price as a benchmark, thereby
profiting at the expense of the investing public.

The Defendants and The Publicly Traded Companies

6. DROR SVORAI’s address listed with the Florida Department of Motor Vehicles (“DMV”)

is 1065 Lyontree Street, Hollywood, Florida 33019.

7. ELI TAIEB’s address listed with the Florida DMV is 3329 Bradenham Lane, Davie,
Florida 33328.
8. CHARLES VACCARO’s address listed with the Florida DMV is 18911 Collins Avenue,

Apt 1603, Sunny Isles Beach, Florida 33160. According to the Financial Industry Regulatory
Authority’s (“FINRA”) Broker Check database, VACCARO has a significant regulatory history in the
securities industry, including serving as the President of a brokerage firm that was expelled from the
industry by FINRA. In 2003, VACCARO was fined $30,000 and suspended for 30 days due to the
member firm acting through VACCARO failing to: (a) supervise inter-customer lending practices, (b)

failed to establish, maintain, and enforce special procedures for supervising telemarketing activities of
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all of its registered representatives, (c) failed to register an associated person who was required to be
registered as a general securities representative, (d) failed to file any reports, including an arbitration
settlement, (e) failed to maintain the required minimum net capital while conducting a securities
business, (f) failed to prepare and keep current books and records and file accurate focus reports, (g)
failed to employ an independent auditor to prepare the firm’s 2001 annual audit, and (h) failed to file
its December 2001 annual audit in a timely manner. In 2014, FINRA awarded a customer $3,262.00
judgement against VACCARO regarding allegations related to the return of funds withdrawn from the
claimant’s account. In 2015, VACCARO was suspended from working in any capacity for failure to
comply with an arbitration award or settlement agreement or to satisfactorily respond to a FINRA
request to provide information concerning the status of compliance.

9. In and around July 2019, PotNetwork Holdings, Inc. (“PotNetwork”) was a publicly-traded
Colorado corporation with its principal place of business in Fort Lauderdale, Florida. PotNetwork was
a microcap or penny stock, whose shares were traded under the ticker symbol “POTN” on OTC.
PotNetwork purported to conduct its operations through its two wholly owned subsidiaries, First Capital
Venture Co., and PotNetwork Media Group, Inc. PotNetwork purported to be a holding company whose

subsidiaries sell numerous CBD Oil products, and operate www.potnetwork.com, an informational

website on the overall cannabis industry. PotNetwork marketed itself on its website as being focuses
on the booming cannabis industry and related verticals.

10. In and around July 2019, Clic Technology, Inc. (“Clic”) was a publicly-traded Nevada
corporation with its principal place of business in Aventura, Florida. Clic was a microcap or penny
stock, whose shares were traded under the ticker symbol “CLCI” on OTC. Clic purported to operate as
a developer, integrator, and marketer of blockchain products and services.

11, In and around July 2019, White Label Liquid, Inc. (“White Label”) was a publicly-traded
Wyoming corporation with its principal place of business in Cheyenne, Wyoming. White Label was a

microcap or penny stock, whose shares were traded under the ticker symbol] “WLAB” on OTC. White
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Label purported to be a manufacturer of e-liquids and hemp derived CBD products, which are private
labeled.

12. In and around July 2019, Canna Corporation (Canna) was a publicly-traded Colorado
Corporation with its principal place of business in Miami, Florida. Canna was a microcap or penny
stock, whose shares were traded under the ticker symbol “CNCC” on OTC.

13. In and around July 2019, Vapor Group, Inc. (“Vapor”) was a publicly-traded Florida
corporation with its principal place of business in Daytona Beach, Florida. Vapor was a microcap or
penny stock, whose shares were traded under the ticker symbol “VPOR” on OTC. Vapor purported to
operate through its wholly owned subsidiary, VPOR, Inc., a bulk wholesaler of high quality, raw hemp-
derived CBD in a range of forms.

14. In or and around July 2019, D&D Capital, Inc. was a Florida corporation with its principal

place of business in Miami, Florida.

Account to be Seize

15. Wells Fargo Bank NA, Account #2000042269454, Account Name: D&D Capital, Inc. As set forth
below, the account is controlled by DROR SVORAI. This Affidavit is being submitted pursuant
to and in accordance with the following forfeiture statutes:
a. 18 U.S.C. § 981(a)(1)(C) & 28 U.S.C. § 2461(c) - criminal forfeiture authority (proceeds)
for 18 U.S.C. § 1348, 18 U.S.C. § 1349, and 18 U.S.C. § 1343 violations.
b. 18 U.S.C. § 981(a)(1)(C) — civil forfeiture authority (proceeds) for 18 U.S.C. § 1348, 18
U.S.C. § 1349, and 18 U.S.C. § 1343 violations.
c. 21 U.S.C. § 853(f) and § 853(]) [as incorporated by 28 U.S.C. § 2461(c) - criminal seizure
warrant authority.

d. 18 U.S.C. § 981(b) - civil seizure warrant authority.
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The Fraudulent Scheme

16. In and around July 2019, defendant CHARLES VACCARO was introduced to an
undercover law enforcement agent “Undercover Agent |.” Undercover Agent | posed as a middleman
with contacts at foreign brokerage firms.

17. On or about July 2, 2019, during a consensually monitored interstate telephone
conversation, VACCARO, and Undercover Agent | discussed a scheme to liquidate shares of stock
through offshore brokerage accounts. VACCARO informed Undercover Agent | that they had over
$100 million of stock to liquidate in four or five companies. VACCARO acknowledged the United
States had tightened up the scrutiny on OTC stocks and it had become more difficult, if not impossible
to do business in the United States. Undercover Agent | advised VACCARO that he could sell shares
of stock through his foreign brokerage accounts for VACCARO. VACCARO expressed the desire to
open his own offshore brokerage account and bank account. VACCARO inquired if he, TAIEB, and
SVORAI could partner with Undercover Agent 1, be added to and have control of the offshore account.
VACCARO stated he could supply enough shares to liquidate $1 million per week and he desired to
sell 20% of the daily market volume. Undercover Agent | and Cooperating Witness 1 (“CW1”) inquired
about the type of issuers VACCARO held stock in and if the risk of skull and crossbones. VACCARO
stated the issuers are a mix of OTCQB and OTC Pink companies, and they had recently experienced a
trading skull and crossbones due of significant volume, which drove the stock from $0.10 to $2.79.
Undercover Agent 1 and CW1 stated they could clear shares for VACCARO for a discount between
30% and 50%, but given the volume VACCARO had, they would accept a 30% discount. VACCARO
stated 30% was as high as he had ever paid.

18. In and around July 2019, defendant DROR SVORAI was introduced a second undercover
law enforcement agent (“Undercover Agent 2”). Undercover Agent 2 posed as a contact of Undercover
Agent | who could use bank accounts maintained through a construction business to transfer money

into the United States.
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19. On or about July 16, 2019, during a consensually monitored interstate telephone
conversation, SVORAI, and Undercover Agent 2 discussed a scheme to launder proceeds of stock
liquidated abroad into the United States. SVORAI discussed how he, VACCARO and TAIEB sold
stock offshore through the another individual, which resulted in problems returning the money back to
the United States. Undercover Agent 2 advised he could use his business accounts to transfer the money
into the U.S. Undercover Agent 2 agreed to send SVORAI $60,000 for three consecutive days, followed
by transfers of $50,000 for 5 days, transfers of $100,000 for 5 days, and additional transactions as
required. The total amount of money owed to SVORAI, VACCARO, and TAIEB was approximately
$2,000,000. Undercover Agent 2 discussed creating documentation to back up the transactions.
SVORAI advised Undercover Agent 2 to send the money to his account [the account to be seized], and
they could later switch the transfers to VACCARO or TAIEB’s accounts. SVORAI stated his Wells
Fargo account [the account to be seized] had been open for approximately 10 or 11 years, had plenty
of money move through it. SVORAI stated the account had millions in it and they had invested millions
out of the account. Undercover Agent 2 was located in the Northern District of Ohio.

20. On or about July 16, 2019, during a consensually monitored interstate telephone
conversation, SVORAI inquired to Undercover Agent 2 what SVORAI could say if he was ever
questioned why he had received money from Undercover Agent 2. Undercover Agent 2 advised that is
why they agreed to have a consulting agreement in place. SVORAI stated under the current arrangement
he could point to the stock sales as the source of funds. Undercover Agent 2 and SVORAI discussed
potential consulting work SVORAI could say he completed for Undercover Agent 2’s construction
business, which would be backed up by invoices and contracts. Undercover Agent 2 was located in the
Northern District of Ohio.

21. On or about July 16, 2019, SVORAI transmitted a text message to the Northern District of
Ohio with wire instructions for [the subject] SVORAI’s Wells Fargo Bank account ending in 9454 in
the name of D&D Capital Inc. The bank branch address provided was “4491 s state rd 7 David FL

33314”.
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22. On or about July 16, 2019, SVORAI clarified that “David” was a typographical error and
meant Davie, Florida. SVORAI confirmed the city for the bank branch was Davie, Florida.

23. On or about July 17, 2019, SVORAI transmitted an email message containing an attached
consulting agreement between D&D Capital, Inc. and Undercover Agent 2’s company.

24. On or about July 17, 2019, Undercover Agent 2, from the Northern District of Ohio,
initiated a wire transfer totaling approximately $20,000 from a government controlled bank account to
[the subject] D&D Capital, Inc.’s Wells Fargo Bank account ending in 9454.

25. On or about July 17, 2019, during a consensually monitored interstate telephone
conversation, TAIEB, and Undercover Agent | discussed a scheme to sell shares on stock on behalf of
TAIEB, VACCARO and SVORAI. TAIEB learned from another person that SVORAI had confirmed
receipt of the first $20,000 wire from Undercover Agent 2. TAJEB discussed how he, VACCARO and
SVORAI had been selling shares of stock offshore through another person. Undercover Agent |
discussed options with TAIEB which would depend on the stock ticker and the trading volume.
Undercover Agent | stated it would depend if TAIEB provided promotional support or if Undercover
Agent | would have to provide it. TAIEB stated that marketing and public relations (“PR”) was done
by the Company, and the PR gives the stock momentum. TAIEB stated he, VACCARO and SVORAI
held shares in five companies from debt conversions. TAIEB advised that given the amount of shares
they owned or controlled, he would prefer they set up a system, where the shares are deposited with
Undercover Agent |, and when the shares are sold, 80% of the proceeds would be wired back to TAIEB,
SVORAI, and VACCARO, and Undercover Agent 1 would keep 20%. TAIEB described their business
model of buying shell companies and take approximately 20% ownership in the shell. TAIEB stated
they are willing to pay a higher discount to Undercover Agent | than to another broker (“Broker 1”).
TAIEB stated the need to deposit the shares elsewhere because Broker | had gotten more complicated.
TAIEB directed that Undercover Agent | be provided two ticker symbols to look at, one controlled by
VACCARO and SVORAI, each. TAIEB stated with the companies making announcements there would

be higher volume. TAIEB described under an arrangement with Undercover Agent 1, he would not
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conduct small transactions and would not want Undercover Agent | to contact the CEOs of the publicly
traded companies for small matters. Undercover Agent 1 inquired to TAIEB about the skull and
crossbones on CLC] and WLAB, who stated the designations will be removed Monday and by the time
Undercover Agent | started selling shares the stocks will be ready. TAIEB discussed a new stock ticker
that TAIEB, VACCARO and SVORAI control shares in, which TAIEB indicated was ready but they
believed they could deposit the shares themselves. TAIEB directed that Undercover Agent | be
provided information on CLCI, WLAB, POTN, and information on the stocks SVORAI had shares to
liquidate. TAIEB indicated SVORAI’s stock had nice volume despite the lower price of the stocks.
TAIEB stated under the system either they all make money or they do not.

26. On or about July 18, 2019, during a consensually monitored interstate telephone
conversation, TAIEB, and Undercover Agent 1 discussed liquidating shares of VPOR. Undercover
Agent | discussed the arrangement with TAIEB to sell shares, starting with one ticker for a 20%
discount. TAIEB was told that SVORAI wanted to start Undercover Agent | on shares of VPOR.
TAIEB stated Undercover Agent | should look at VPOR’s volume for the last 60 days, because there
was no PR in the last 30 days due to the company making changes. TAIEB stated with the PR and the
announcements VPOR has, it is usually nice momentum. Undercover Agent 1 asked about the yield
sign OTC placed on VPOR. TAIEB explained the yield sign is due to new OTC pink sheet requirements
to disclose every debtholder, the company name and individual name, how much they have converted
and how much they have sold. VPOR and the debt holders did not want to disclose that information so
they have left the yield sign so the yield sign will remain on VPOR. TAIEB asked Undercover Agent
1 whether he cleared shares through a broker-dealer in the U.S. or overseas. Undercover Agent | stated
he used an offshore broker-dealer. TAIEB stated they would provide Undercover Agent | with VPOR
stock first and see how the momentum goes, and the volume that Undercover Agent | would be able to
sell. Every Friday, Undercover Agent |, would send a report of the volume sold Monday through Friday
and would wire 80% back to TAIEB, SVORAI and VACCARO. Per the agreement, Undercover Agent

1 would receive 704 million shares of VPOR. TAIEB stated there is a lot of money to be made. Their

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prior system created red flags due to the volume of cash from sale of shares. TAIEB stated these deals
would make a lot of money, not just make a living. Undercover Agent 1 asked TAIEB to let him know
when they are expecting volume surges in VPOR. TAIEB indicated they do not control the PR, but if
the stock starts strong first thing in the morning he should know it will be a big day.

27. On or about July 18, 2019, during a consensually monitored interstate telephone
conversation, SVORAI, and Undercover Agent | discussed Undercover Agent | selling shares of
VPOR. Undercover Agent | informed SVORAI of his previous conversation with TAIEB regarding
selling of shares in VPOR. SVORAI stated they have not done anything to help the volume on VPOR
due to the hiccup in selling shares and receiving wires. SVORAI stated there was so much business and
so much to take about with VPOR. SVORAI discussed CNCC, which he described as ready to explode.
SVORAI stated a $2,000 trade on CNCC would increase the price to $0.50 per share. CNCC has a
small float, which shows 11,000,000 shares but his brothers hold some stock in book form. SVORAI
stated the real float is 3,000,000 or 4,000,000, and half of the float was bought by friends and family a
year ago. Once SVORAI, TAIEB, and VACCARO begin on CNCC, SVORAI believed it could go to
$1 or $2 per shares. They have negotiated subsidiaries to put into CNCC, , including one with
$80,000,000 in sales. SVORAI reiterated the need for a new system with Undercover Agent | to sell
shares. SVORAI stated says will start with VPOR, then move to POTN, followed by the other stock
tickers over time. SVORAI communicated his prior concerns about the wires from Undercover Agent
2. SVORAI stated they could make $2,000,000 or $3,000,000 in one month and will bring in awareness
if they need to. Based on my training, experience and discussions with other law enforcement agents,
awareness when used in context of securities generally means promoting a stock. SVORAI stated pay
per click promotion would generate more volume, and it was harder for OTC to find out about it.
SVORAI indicated they could spend $100,000 or $200,000 per week per symbol. Undercover Agent 1
and SVORAI discussed the fee Undercover Agent | would receive, which aligned with Undercover
Agent 1’s previous conversation with TAIEB, in which they agreed on 20%.. SVORAI stated

Undercover Agent | sell and pay SVORAI, TAIEB, and VACCARO every Friday or Monday.
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Undercover Agent 1 stated it takes approximately 5 or 6 days to deposit and an additional 2 days for
compliance. SVORAI stated the debt is 3 or 4 years old from 4A1 conversions. SVORAI stated they
need to get the medallion switched to get the shares to Undercover Agent 1. SVORAI stated between
all of them, they hold approximately 6 or 7 billion shares of VPOR, that are all converted and sitting in
book form. SVORAI discussed two additional shells he, TAIEB, and VACCARO planned to purchase.
They will put a training app into one, and a CBD company into the other shell. SVORAI told
Undercover Agent | that they could sell $4 or $5 million per month.

28. On or about July 19, 2019, approximately $20,000 was wired from a government controlled
bank account to [the subject] D&D Capital’s Wells Fargo Bank account ending in 9454.

29. On or about July 19, 2019, approximately $20,000 was wired from a government controlled
bank account to [the subject] D&D Capital’s Wells Fargo Bank account ending in 9454.

30. In sum, from approximately July 17 to July 19, 2019, Undercover Agent 2 wired

approximately $60,000 to [the subject] D&D Capital’s Wells Fargo account ending in 9454.

CONCLUSION

WHEREFORE, based on the foregoing, your affiant respectfully requests that an arrest warrant
be issued for the defendants DROR SVORAI, ELI TAIEB, and CHARLES VACCARO, so that they may

be dealt with according to law.

Further, based upon the foregoing, your affiant respectfully submits there is probable cause to
believe that the contents of the subject Wells Fargo Bank NA, Account #2000042269454, constitute — or
are derived from — proceeds traceable to violations of Title 18, United States Code, Sections 1348, 1349,
and 1343 and, therefore, are subject to seizure and forfeiture by the United States pursuant to 18 U.S.C. §
981(a)(1)(C) & 28 U.S.C. § 2461(c) (criminal forfeiture authority) and 18 U.S.C. § 981(a)(1 XC) (civil

forfeiture authority). Therefore, I respectfully request that a seizure warrant be issued for the contents of

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the subject bank account, and state that a protective order would not be sufficient to assure the availability

of the property for forfeiture.

Because public filing of this document could result in risk of flight by the defendants DROR
SVORAI, ELI TAIEB, and CHARLES VACCARO, as well as jeopardize the government’s ongoing
investigation, your affiant respectfully requests that this affidavit, as well as any arrest and seizure

warrants issued in connection with this complaint, be filed under seal.

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Sy
ae Fry, Special Agent

Federal Bureau of Investigation

Sworn to via telephone after
submission by reliable electronic
means. Crim.Rules. 4.1; 41(d)(3)

United States Magistrate Judge
5:06 PM, Jul 19, 2019

